The Honorable Margaret Kelly, CPA Missouri State Auditor State Capitol Building Jefferson City, MO 65101
Dear Auditor Kelly:
You have submitted to us a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo Supp. 1997, relating to Senate Substitute #2 for House Joint Resolution No. 39, 89th General Assembly, Second Regular Session (1998). The fiscal note summary which you have submitted is as follows:
    The estimated fiscal impact of this proposed measure on state and local governments is $0.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary. Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the ballot measure or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                             JEREMIAH W. (JAY) NIXON Attorney General